Case 5:18-cv-OO424-TES Document 17 Filed 04/19/19 Page 1 of 1

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IN THE UNITED sTATEs DISTRICT COURT U;;;_ -E _- l- -- __
FOR THE MIDDLE DISTRICT oF GEORGIAF'F"-'{;!-C?.§lj;_'»;` 1

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MACON DIVISION
DASHA FINCHER, "
Plaintiff, * Civil Action
* No. 5:18-CV-424
vs.
*
THE MONROE COUNTY BOARD OF *
COMMISSIONERS, CODY MAPLES, *
ALLEN HENDERSON, KEVIN *
WILLIAMS, SIRCHIE ACQUISITION *
COMPANY, LLC and ]OHN DOE, *
Defenclants. *
ORDER AND FINAL ]UDGMENT

 

The above-styled civil action was before the Court on Defendant Sirchie
Acquisition Cornpany, LLC’s (hereinafter "Sirchie”) Motion to Dismiss. For the
reasons more fully set forth in the Court’s Order Granting Defenclant Sirchie’s
Motion to Disrniss, and there being no just reason for delayr of entry of a final
judgment as to Defendant Sirchie, Plaintiff’s lawsuit and action as against

Defendant Sirchie is hereby dismissed.

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this ,l day of

  
   
 

DISTRICT COURT

